Case 5:20-cv-00484-JAK-DFM Document 62 Filed 11/10/21 Page 1 of 2 Page ID #:272




   1
   2
   3
   4
   5
   6
   7
   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10 JOHN HELMHOLTZ,                                No. 5:20-CV-00484-JAK (DMFx)
  11                Plaintiff,
                                                    ORDER RE STIPULATION TO
  12         v.                                     DISMISS WITH PREJUDICE (DKT.
                                                    59)
  13 COUNTY OF RIVERSIDE,
                                                    JS-6
  14                Defendant.
  15
  16
             Based on a review of the parties’ Stipulation to Dismiss with Prejudice (the
  17
       “Stipulation” (Dkt. 59)), sufficient good cause has been shown for the requested
  18
       relief. Therefore, the Stipulation is APPROVED. Pursuant to Federal Rule of Civil
  19
       Procedure 41(a), the above-captioned action is dismissed in its entirety, with
  20
       prejudice. The parties shall bear their own costs, expenses and attorney’s fees
  21
       arising out of and/or connected with this matter, including any such fees or expenses
  22
       potentially recoverable under 42 U.S.C. § 1988. This Order is the result of a
  23
       compromise of disputed claims. It is not to be considered as an admission of
  24
       liability and/or responsibility with regard to the incident, occurrence, casualty or
  25
       events referenced in the pleadings.
  26
       //
  27
       //
  28
Case 5:20-cv-00484-JAK-DFM Document 62 Filed 11/10/21 Page 2 of 2 Page ID #:273




   1 The Court shall retain jurisdiction for the purpose of enforcement of the terms of the
   2 settlement agreement between the parties.
   3
   4 IT IS SO ORDERED.
   5
   6
       Dated: November 10, 2021
   7                                                     John A. Kronstadt
   8                                                     United States District Judge

   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
